                              NO.  07-10-0063-CR
					 
	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL B

	JULY 21, 2010
	______________________________

	ISRAEL LEE DELEON, 

									Appellant

	v.

	THE STATE OF TEXAS, 

									Appellee
	_______________________________

	FROM THE 242ND DISTRICT COURT OF HALE COUNTY;

	NO.  B17518-0801; HON. ED SELF, PRESIDING
	_______________________________
                                       
                                Anders Opinion
                        _______________________________

Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
	Appellant Israel Lee DeLeon was placed on deferred adjudication after pleading guilty to the offense of burglary of a habitation.  The State sought to have his guilt adjudicated and after a hearing, the court revoked appellant's probation, adjudicated his guilt, and sentenced him to fifteen years confinement. 
	Appellant's appointed counsel has filed a motion to withdraw, together with an Anders1 brief, wherein he certifies that, after diligently searching the record, he has concluded that the appeal is without merit.  Along with his brief, appellate counsel has attached a copy of a letter sent to appellant informing him of counsel's belief that there was no reversible error and of appellant's right to file a response or brief pro se.  By letter dated May 21, 2010, this court also notified appellant of his right to file his own brief or response and set June 21, 2010, as the deadline to do so.  To date, we have received no response. 
	In compliance with the principles enunciated in Anders, appellate counsel discussed potential areas for appeal.  They include 1) the original plea of guilty and  2) the sufficiency of the evidence to support an adjudication of guilt.  Counsel has explained why they lack merit. 
We have also conducted our own review of the record to assess the accuracy of appellate counsel's conclusions and to uncover any error pursuant to Stafford v. State, 813 S.W.2d 503 (Tex. Crim. App. 1991).  Our own review has also failed to reveal any reversible error.  
	Accordingly, the motion to withdraw is granted, and the judgment is affirmed.2

							Brian Quinn 
						           Chief Justice
Do not publish.   
